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                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF KENTUCKY
                                    LEXINGTON DIVISION

IN RE:

DOROTHY ANN CURTIS                                                                        CASE NO. 17-51288

DEBTOR

DOROTHY ANN CURTIS                                                                                  PLAINTIFF

V.                                                                                          ADV. NO. 17-5025

COUNTRYSIDE RENTALS, INC., et al                                                                DEFENDANTS


                                            ORDER FOR TRIAL

         It is ORDERED:

         1. The parties shall have to and through April 24, 2018, to complete discovery.

         2. All dispositive motions shall be filed on or before May 1, 2018.

       3. The parties shall explore settlement of the within matter and file a joint report
advising that the settlement conference was held and the results thereof on or before May 15,
2018.

        4. On or before May 15, 2018, the parties shall produce for inspection by the opposing
party(ies) and file an Exhibit List and copies of all exhibits that are to be placed in evidence.
The exhibits shall be marked with exhibit numbers and the pages of each shall be numbered.
Unless written objections to the authenticity and/or admissibility of each such exhibit are filed
on or before May 29, 2018, the exhibit shall be deemed authentic and may be admitted upon
request of the party to admit the exhibit into evidence at trial. In the absence of good cause, no
exhibit may be offered in evidence except upon compliance with the conditions contained in
this order. All exhibits shall be presented using the Court's Evidence Presentation System. 1

         5. The parties shall file Joint Stipulations of Fact on or before May 29, 2018.2

        6. By May 29, 2018, each party shall file a Trial Brief which shall include a list of
witnesses expected to be called at trial, with summary of anticipated testimony. The Trial Brief
shall set forth the issues in question, a summary of what the evidence will tend to prove, and

1
  Information available at http://www.kyeb.uscourts.gov Judges Info - Special Instructions - Evidence Presentation
Systems (EPS)
2
  Instructions available at http://www.kyeb.uscourts.gov Judge’s Info – Special Instructions – Joint Stipulations Preparation.
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       case and statutory authority in support of the respective positions of the parties.

              7. Trial of this proceeding shall be held at 9:00 a.m. (prevailing time) on June 12,
       2018, in the U.S. Bankruptcy Court, Community Trust Building, Second Floor
       Courtroom, 100 East Vine Street, Lexington, Kentucky.

              Counsel for the parties are further directed to inform the court and file a Notice of
       Settlement herein as soon as any settlement is reached which disposes of the matter set for trial.

               8. No requests for continuance of the trial will be considered unless a motion for
       continuance is filed and served on opposing counsel or parties appearing pro se at least 21 days
       prior to the date scheduled for trial. Such motion must be accompanied by the affidavit of a
       party or counsel for a party detailing the factual basis for the relief requested.




                                                        2



__________________________________________________________________________________________
The affixing of this Court's electronic seal below is proof this document has been signed by the Judge and
electronically entered by the Clerk in the official record of this case.



                                                        Signed By:
                                                        Gregory R. Schaaf
                                                        Bankruptcy Judge
                                                        Dated: Thursday, February 08, 2018
                                                        (grs)
